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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA
           Plaintiff,

vs.                                                      3:05cr99/LAC

SCOTT MONTGOMERY,
            Defendant.
_____________________________________________________________________
                       REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

      The defendant, by consent, has appeared before me pursuant to Rule 11,
Fed.R.Crim.P., and has entered a plea of guilty to the one count indictment against
him. After cautioning and examining the defendant under oath concerning the
subject mentioned in Rule 11, I determined that the guilty plea was knowledgeable
and voluntary, and that the offense charged is supported by an independent basis
in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted and that the defendant be adjudicated
guilty and have sentence imposed accordingly.


Dated: September 30, 2005

                                   /s/   Miles Davis
                                         MILES DAVIS
                                         UNITED STATES MAGISTRATE JUDGE
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                              NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed
within ten days after being served a copy thereof. A copy of objections shall be
served upon all other parties. Failure to object may limit the scope of appellate
review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).




Case No: 3:05cr89/LAC
